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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-24228-CIV-ALTONAGA/Reid

  MEGAN PETE,

         Plaintiff,
  v.

  MILAGRO ELIZABETH COOPER,

        Defendant.
  _________________________________/
                                               ORDER

         THIS CAUSE came before the Court sua sponte. On December 10, 2024, the Court

  entered an Order Scheduling Mediation [ECF No. 27], scheduling the parties’ mediation

  conference to take place on March 10, 2025. The Order reminded the parties “that a report of their

  mediation must be filed within seven (7) days thereafter.” (Id.). To date, no mediation report

  detailing the outcome of the mediation conference has been received, nor has the Court received

  notice the mediation conference was cancelled.

         Accordingly, by March 19, 2025, the parties shall submit a mediation report indicating the

  results of the March 10, 2025 mediation conference or a proposed order rescheduling mediation,

  if the mediation conference was cancelled.

         DONE AND ORDERED in Miami, Florida, this 18th day of March, 2025.



                                               ________________________________________
                                               CECILIA M. ALTONAGA
                                               CHIEF UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
